            Case 22-50073                Doc 29          Filed 02/24/22              Entered 02/25/22 00:18:56                         Page 1 of 4
                                                              United States Bankruptcy Court
                                                                  District of Connecticut
In re:                                                                                                                 Case No. 22-50073-jam
Ho Wan Kwok                                                                                                            Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0205-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 22, 2022                                               Form ID: pdfdoc20                                                         Total Noticed: 21
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 24, 2022:
Recip ID                 Recipient Name and Address
db                     + Ho Wan Kwok, Golden Spring (New York) Ltd., 162 East 64th Street, New York, NY 10065-7478
9343406                + Cheng Jian Wu Jian She, c/o Kevin Kerveng Tung, P.C., 136-20 38th Avenue, Suite 3D & 3F, Flushing, NY 11354-4232, Attn: Kevin
                         Tung, Esq.
9343404                + Golden Spring New York, 162 E. 64th Street, New York, NY 10605 USA 10065-7478, Attn: Max Krasner
9343408                + Guo Baosheng, c/o Law Office of Ning Ye, Esq., 135-11 38th Avenue, Suite 1A, Flushing, NY 11354-4440, Attn: Ning Ye, Esq.
9343410                + Hong Qi Qu, c/o Kevin Tung, P.C., 136-20 38th Avenue, Suite 3D & 3F, Flushing, NY 11354-4232, Attn: Kevin Tung, Esq.
9343449                + Huizen Wang, c/o Giordano, Halleran &. Ciesla P.C., 1250 Broadway, 36th Floor, New York, NY 10010 USA 10001-3709, Attn:
                         Christopher Marino
9343412                + Jian Gong, C/O Kevin Kerveng Tung, P.C., 136-20 38th Avenue, Suite 3D, Flushing, NY 11354-4232, Attn: Kevin Tung, Esq.
9343419                + Jun Chen aka Jonathan Ho, C/O Wayne Wei Zhu, Esq., 4125 Kissena Blvd, Suite 112, Flushing, NY 11355-3150, Attn: Wayne Wei Zhu
9343418                + Lamp Capital, LLC, 667 Madison Avenue, New York, NY 10065-8029
9343415                + Liehong Zhuang/Xiao Yan Zhu, C/O Trexler & Zhang, LLP, 224 West 35th Street, 12th Floor, New York, NY 10001-2532, Attn: Jonathan
                         T. Trexler, Esq.
9343411                + Nan Tong Si Jian, C/O Kevin Kerveng Tung, P.C., 136-20 38th Avenue, Suite 3D & 3F, Flushing, NY 11354-4232, Attn: Kevin Tung,
                         Esq.
9343407                + Ning Ye, c/o Law Office of Ning Ye, Esq., 135-11 38th Avenue, Suite 1A, Flushing, NY 11354-4440, Attn: Ning Ye, Esq.
9343403                + Pacific Alliance Asia Opportunity, C/O O'Melveney & Myers, LLP, 7 Times Square, New York, NY 10065 USA 10036-6524, Attn: Stuart
                         Sarnoff, Esq
9343405                + Rui Ma, 900 Third Avenue, 18th Floor, c/o Arkin Solbakken, LLP, Attn: Robert C. Angelillo, New York, NY 10022-5000
9343417                + Samuel Nunberg, C/O Nesenoff & Miltenberg, LLP, 363 Seventh Ave, 5th Floor, New York, NY 10001-3915, Attn: Andrew T.
                         Miltenberg, Esq.
9343416                + Weican Meng/Boxun, Inc., C/O Arkin Solbakken, LLP, 900 Third Avenue, 18th Floor, New York, NY 10022-5000, Attn: Robert C.
                         Angelillo
9343454                + Xiong Xian Wei Ye, C/O Kevin Tung, Esq., 136-20 38th Avenue, Suite 3D & 3F, Flushing, NY 11354-4232, Attn: Kevin Tung, Esq
9343413                + Yan Zhao, C/O Law Office of Ning Ye, Esq., 135-11 38th Avenue, Suite 1A, Flushing, NY 11354-4440, Attn: Ning Ye, Esq.
9343409                + Yang Lan and Wu Zheng, 900 Third Avenue, 18th Floor, c/o Arkin Solbakken, LLP, New York, NY 10022-5000, Attn: Robert C.
                         Angelillo
9343414                + Yua Hua Zhuang Shi, C/O Kevin Kerveng Tung, P.C., 136-20 38th Avenue, Suite 3D & 3F, Flushing, NY 11354-4232, Attn: Kevin Tung,
                         Esq.
9344053                + Yue Hua Zhu Shi, 136-20 38th Avenue, Suite 3D, c/o Kevin Kerveng Tung, P.C., Flushing, NY 11354-4232, Attn: Kevin Tung, Esq.

TOTAL: 21

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
           Case 22-50073              Doc 29         Filed 02/24/22            Entered 02/25/22 00:18:56                      Page 2 of 4
District/off: 0205-5                                              User: admin                                                           Page 2 of 2
Date Rcvd: Feb 22, 2022                                           Form ID: pdfdoc20                                                   Total Noticed: 21

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 24, 2022                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 22, 2022 at the address(es) listed
below:
Name                             Email Address
Dylan Kletter
                                 on behalf of Debtor Ho Wan Kwok dkletter@brownrudnick.com
                                 adeering@brownrudnick.com;upinelo@brownrudnick.com;bsilverberg@brownrudnick.com;jrobinson@brownrudnick.com

Jay Marshall Wolman
                                 on behalf of Creditor Logan Cheng jmw@randazza.com ecf-6898@ecf.pacerpro.com

U. S. Trustee
                                 USTPRegion02.NH.ECF@USDOJ.GOV


TOTAL: 3
         Case 22-50073         Doc 29         Filed 02/24/22      Entered 02/25/22 00:18:56              Page 3 of 4
ct173                                                                                                                   06/2020
                         United States Bankruptcy Court
                                  District of Connecticut

In re:
              Ho Wan Kwok
                                                                                              Case Number: 22-50073
                                                                                              Chapter:        11
          Debtor*


         ORDER SCHEDULING INITIAL CHAPTER 11 CASE MANAGEMENT CONFERENCE

       Ho Wan Kwok (the "Debtor"), filed a petition for reorganization under Chapter 11 of the Bankruptcy Code on
February 15, 2022. The Court having determined that a Case Management Conference will aid in the efficient conduct
and proper administration of the case; it is hereby
        ORDERED: Pursuant to 11 U.S.C. § 105(d), a Case Management Conference will be conducted by the
undersigned Bankruptcy Judge, at the United States Bankruptcy Court, 915 Lafayette Blvd., Room 123, Courtroom,
Bridgeport, Connecticut, on March 22, 2022 at 1:00 PM; and it is further
        ORDERED: The Debtor, or an authorized representative of the Debtor (knowledgeable on the matters described
below), and counsel for the Debtor, shall be present at this Case Management Conference and shall be prepared to discuss
at the Court's discretion, as applicable:
         1.     The nature of the Debtor's business and the reason(s) for the Chapter 11 filing;
         2.     The Debtor's current financial condition, including postípetition operations and revenue;
         3.     Debtoríinípossession financing;
         4.     The use of cash collateral;
         5.     The Debtor's capital structure;
         6.     The Debtor's corporate structure, including subsidiaries and affiliates (specifying the names and positions of
                the Debtor's officers, directors or managing members);
         7.     Any significant motions which the Debtor anticipates bringing before the Court including, but not limited to,
                sale motions or motions related to management retention, collective bargaining or health and welfare
                benefits;
         8.     Matters relating to the retention of professionals (including any brokers, financial advisors or appraisers);
         9.     The status of any material litigation involving the Debtor;
         10.    The status of the Debtor's insurance;
         11.    Proposed deadlines for the filing of claims and a Plan and Disclosure Statement;
         12.    The use of alternative dispute resolution, if appropriate;
         13.    If this is a single asset real estate case, whether the Debtor intends to file a plan within the time allotted
                pursuant to § 362(d)(3)(A), or whether the Debtor intends to commence monthly payments pursuant to §
                362(d)(3)(B);
         14.    If this is a small business case, whether the Debtor anticipates being able to satisfy the deadlines provided by
                § 1121(e);
         15.    If this is an individual case, all material issues unique to individual Chapter 11 cases;
         16.    The scheduling of additional Case Management Conferences;
         17.    Any other case administrative matters;
         18.    The proposed management of reclamation claims; and it is further
     Case 22-50073         Doc 29      Filed 02/24/22       Entered 02/25/22 00:18:56            Page 4 of 4

        ORDERED: The Debtor shall file with the Court, and serve upon the Office of the United States Trustee,
Monthly Operating reports during the pendency of this case. The Monthly Operating Reports shall be in the form
prescribed by the Office of the United States Trustee's Operating Guidelines and Reporting Requirements for Debtorsíin
íPosession and Trustees for cases pending in this District. The Monthly Operating Reports shall be served and filed on or
before the 20th day of the month following the reporting period; and it is further
         ORDERED: Unexcused failure to attend any Case Management Conference or to file timely Monthly Operating
Reports in compliance with this Order may constitute cause for conversion of this case to Chapter 7, appointment of a
trustee, or dismissal of this case pursuant to 11 U.S.C. § 1112; and it is further
        ORDERED: The Clerk of Court shall give notice of this Order to the Debtor, its counsel, the United States
Trustee and all creditors and parties in interest.



                                                                                         BY THE COURT
Dated: February 17, 2022




United States Bankruptcy Court
District of Connecticut
915 Lafayette Boulevard
Bridgeport, CT 06604


*For the purposes of this order, "Debtor" means "Debtors" where applicable.
